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Case D2015­0875
Support Pananames <support@pananames.com>                                                    Mon, Oct 3, 2016 at 3:55 AM
To: Matthew Shayefar <matt@bostonlawgroup.com>
Cc: Val Gurvits <vgurvits@bostonlawgroup.com>

 Dear Matthew,

 we, as an ICANN accredited registrar, hereby inform you that following the Seychelles court case dismissal, we now
 consider the UDRP decision as final and binding and for this reason the domains were transferred to the complainant.

 ­­
 Best Regards,
 URL Solutions, Inc
 PanaNames.com
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    Russia bans all gambling and shuts                                                                                           TRENDING ON REUTERS


    casinos                                                                                                                      Toddler rescued from car 14 hours after Utah
                                                                                                                                 river plunge                                             1
    BY MIKHAIL ANTONOV AND VLADIMIR BOMKO
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                                                                                                                                  PICTURES




    A dealer stacks chips on a roulette table at the Shangri La Casino in Moscow June 29, 2009.
    CREDIT: REUTERS/DENIS SINYAKOV




                                                                                                                                Japan's cat island
    FACTBOX
                                       (Reuters) ­ Russia closed down its casinos overnight as gambling
                                                                                                                                An army of feral cats rules a remote island in southern
    FACTBOX­Five risks to              was banned nationwide, a move the industry says could throw a                            Japan, outnumbering humans six to one in the fishing
    watch east of the EU                                                                                                        village. Slideshow
                                       third of a million people out of work.

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    Russian defense                                                                                                                Facebook        Twitter         RSS           YouTube
                                       "I feel terrible. We just let 1,000 people go," said Yuri Boyev,
    PREVIEW­Bally
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                                       billionaires rolled the dice and Russia's gas giant Gazprom held a
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                                       Vladimir Putin, now prime minister, came up with the idea in
                                                                                                                                    Teacher found hanged in California high school
    2006 when he was president after the Interior Ministry linked several gaming operations in                                      classroom
    Moscow to Georgian organized crime.
                                                                                                                                    China expanding its reach on the water

    The Kremlin plans to restrict gambling to Las Vegas­style gaming zones in four rarely visited
                                                                                                                                    Shadowy Iranian general behind Iraq's push for
    regions deemed to need investment, including one near the North Korea border, but                                               Tikrit
    nothing has been built and critics say the zones will fail.

    Though gaming establishments knew the shutdown date for at least a year, few thought the
    government would go through with it, but officials moved in overnight to close them down.

    The industry says the ban will axe at least 300,000 jobs but officials in Moscow put the

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    national figure at only 11,500.

    Rows of slot machines, usually blinking around the clock in smoky, crowded halls, lay
    dormant and wrapped in cellophane.

    Moscow deputy mayor Sergei Baidakov, watching men dismantle poker tables and lay
    roulette wheels on the floor, said the state was ready to thwart any big to move gambling
    underground.

    "We are confident we will control the situation," he said.

    He said the ban was to protect the health of society. Many critics in the gambling industry
    say it has more to do with Russia's poor ties with Georgia. Georgians are thought to run
    many Russian gaming halls.

    City police stood on guard in case of protests by disgruntled former workers in the popular
    gaming halls that have sprouted since the Soviet Union collapsed in 1991 and now pepper
    Russia's cities.

    A hotline was set up Wednesday to report on those suspected of operating illegal gambling,
    Itar­Tass reported.

    Moscow had around 550 gambling places, including 30 casinos in prime spots, symbolizing
    the capital's love of excess.

    Midnight on Novy Arbat street, the heart of the gambling scene, was muted as its flashing
    lights and loud music were turned off for the first time in over a decade.

    "I'm upset but I guess I'll have a little rest and re­visit my job situation in August," said
    Elena, a slot machine operator who has worked in the gaming business for five years.

    Each year gaming brought in up to $7 billion and paid $1 billion in tax, a gap the industry
    says will cause the state a budget headache.

    The development replacement zones ­­ in southern Krasnodar, the Baltic enclave of
    Kaliningrad, east Siberia's Altai region and the Far East ­­ require investment of up to $40
    billion and have not been built.

    "The zones have no roads, water or electricity. We fulfilled the law by shutting, the
    government did not fulfill it as the zones are not ready yet," said casino director Boyev.

    The industry has raised eyebrows at government guarantees of work in restaurants and
    shopping centers that are to replace casinos when unemployment in Russia has hit an
    eight­year high.

    But some addicted gamblers thought the ban might help them.

    "Maybe this is all a good thing. I'm a family man and I come here every day and lose all my
    money. I'll be happy to see them go," said a 40­year­old Muscovite near the flashy Shangri­
    La casino in the city center.

    (Additional reporting and writing by Amie Ferris­Rotman, edited by Richard Meares)

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     Feature
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     A raw deal for Russia’s casino workers
     at 01/02/2010 19:07

     Anna Sulimina
                                                                                                                Putin denies accusations of Stalinism
                                                                                                                23 people recommend this.
     Moscow's casinos may have been forced to close their doors six months ago,
     but already their owners are dining out on fat profits in the hospitality sector.                          Speaking ill of the dead
                                                                                                                22 people recommend this.
     Experts say the gambling industry had begun to slow down anyway, as owners prepared for
     the time when a proposed ban would take effect. In 2008, revenue was an estimated $3                       Child discovers a mammoth in Taymyr
     billion to $4 billion, compared with $5 billion to $6 billion in 2007.                                     52 people recommend this.

     "The decline started when the law was just under discussion," said Maxim Klyagin, a                        Pussy Riot members arrested in Sochi
     consumer industry analyst at Finam Management. "Key operators in the industry started to                   152 people recommend this.
     look abroad, mainly in the Ukraine or Belarus markets, and cut down their business in
     Russia."

     At the same time, no new players were lured into setting up casinos in the four far­flung
     Russian regions where gambling remained legal.

     "We do not think any of Moscow's operators will go to these legal gambling zones ­ there is
     no infrastructure and no clients for casinos," said the Association of Gambling Operators.
     "This is just not worth it at all."


     High rollers staying put                                                                                Facebook social plugin


     Even before the ban came into force on July 1, 2009, two of Moscow's biggest high rollers ­
     Ritzio Entertainment Group and Storm International ­ decided not to gamble on investing            MOST READ
     in the legal zones.
                                                                                                          South Korea asks Russia, China to rein in
     Ritzio, which operated the Vulcan chain of fruit machines as well as big casinos Imperial           North Korea
     and Desperado, left its rented slot­spots in Moscow before the clampdown. The vacated real           Iron Lady Margaret Thatcher dies at 87
     estate has been gobbled up by food stores and mobile phone shops, while the casinos have             Teacher says nuked friend for immortality
     switched their attention to fresh tables around the world.                                           Stephen Fry meets anti­gay politician
     "Our first priority now is unfolding business in Eastern Europe, CIS and Latin America,"              Horsemeat found in sausage in Russia –
     said Storm's vice president of hospitality, Richard Kveton. "However, we are not going to           officials
     leave the Moscow market."

     The company, which was founded in 1992 by English entrepreneur Michael Boettcher, had
     been operating five big casinos in Moscow before the ban ­ Shangri La, Jazz Town, New
     York, Karnaval and Udarnik ­ and the Super Slots chain.


     Laughing and dining

     Storm has decided to switch to the hospitality industry and is now opening several
     restaurants on the sites of its former casinos. Perhaps with half an eye to an eventual return
     of the casinos in Moscow, The company kept faith with US­style entertainment in its roll of
     the restaurant dice, opening the American­style casual diner, Radio City, in place of the
     New York casino on Bolshaya Sadovaya.

     Shangri La ­ a former gambler's paradise on Pushkinskaya Ploshchad ­ is being
     transformed into two restaurants serving Brazilian churrasco­rodizio, all­you­can­eat grills
     and Chinese dim­sum after being stripped of its one­armed bandits.

     These two projects, called Macho Grill and Café Macao, are being launched this month
     together, and Storm is optimistic about their future with well­known Moscow restaurateur
     Arkady Novikov at the helm.

     "We have gained sound experience in food service working with casino clients, but it's not
     an easy task to set up and operate all these dining spots," said Kveton. "However, our first
     restaurant, Radio City, drew lots of people for New Year's corporate parties and is currently
     very busy too."

     Storm's other projects are still being worked on while all the Super Slots have been closed.
     Kveton says $1.5 million will be totally invested in the company's reorganisation.
     Some other big casinos have also taken the pledge and transformed themselves into
http://themoscownews.com/feature3/20100201/55407321.html                                                                                                         1/2
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     mainstream entertainment venues. The Golden Palace, near Belorusskaya metro station,
     has been redeveloped into an entertainment centre with restaurants and a dance floor,
     where the Russian popular show Comedy Club now takes place.


     Former Mecca struggles

     Moscow's biggest gambling Mecca, Novy Arbat, is proving the hardest hand to play with
     much of the real estate remaining vacant. While the Crystal casino has become a shopping
     centre with a high­end supermarket, Azbuka Vkusa, the former Angara and Metellitsa
     casinos, totalling 2,500 square metres, are still empty.

     It appears the companies are happy to leak cash while waiting for someone to meet the
     lease.

     "The owners of these premises expected higher rental rates than the market could sustain,"
     said Tatyana Klyuchinskaya, director of retail property at Colliers International. "Obviously
     there are very few companies that can afford these places today and not all are convenient
     for retailers. In this regard, slot­spots were quicker to lease out."

     Before the gambling ban, by law a casino had to be at least 3,000 square metres. This
     creates problems for potential tenants.

     "The main problem of former casino premises is that most of them are off the beaten track,
     so it's not the best spot for an entertainment centre or shopping mall," said Julia
     Nikulicheva, director of strategic consulting at real estate firm Jones Lang La Salle.
     "Moreover, they are very large ­ and that makes it inappropriate for many other purposes."

     However, some former Moscow casinos are still catering to gambling tastes under the legal
     protection of the state lottery, Rosloto. In the Korston Hotel, there is a corner with slot
     machines behind a curtain, where punters can enjoy a quiet flutter by buying a ticket that
     allows them to play ­ and win prizes ­ on the slots.


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           Response Annex
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                                                 1 of 1 DOCUMENT

                          IN RE CASINO DE MONACO TRADEMARK LITIGATION

                                                 07 Civ. 4802 (DAB)

                 UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF
                                         NEW YORK

                                            2010 U.S. Dist. LEXIS 33950


                                             March 31, 2010, Decided
                                              March 31, 2010, Filed

COUNSEL: [*1] For Societe Des Bains De Mer Et Du            Monaco. SBM has sued Playshare PLC ("Playshare"), an
Cercles Des Estrangers A Monaco, Plaintiff, Counter         operator of online casino websites, and others, alleging
Defendant: Alan Blum, Lori Ellen Weiss, Robert Lloyd        trademark violations and unfair competition under federal
Raskopf, LEAD ATTORNEYS, Quinn Emanuel                      and state law as to SBM's mark CASINO DE MONACO.
Urquhart Oliver & Hedges LLP (NYC), New York, NY.           Playshare counter-sued SBM in a separate action seeking:
                                                            (1) a declaratory judgment that Playshare is not infringing
For Playshare P.L.C., Grand Monaco Ltd., Gamshare           on SBM's trademarks and (2) to overturn a decision by
Ltd., Lucan Toh, Maxwell Wright, Hilstead Ltd.,             the World Intellectual Property Organization ("WIPO")
Defendants, Counter Claimants: Jonathan E. Moskin,          awarding various domain names [*2] held by Playshare
LEAD ATTORNEY, White & Case LLP (NY), New                   to SBM. Both actions are now consolidated before this
York, NY.                                                   Court.

JUDGES: Deborah A. Batts, United States District                 On June 6, 2007, SBM filed a complaint in U.S.
Judge.                                                      District Court in New York alleging that Playshare and
                                                            other Defendants' 1 use of the designations GRAND
OPINION BY: Deborah A. Batts                                MONACO, GRAND MONACO CASINO, GRAND
                                                            MONDIAL and GRAND MONDIAL CASINO, along
OPINION                                                     with various domain names ("Monaco Domain Names"),
                                                            infringes on a mark owned and registered by SBM:
                                                            CASINO DE MONACO. The mark CASINO DE
MEMORANDUM AND ORDER                                        MONACO is registered with the U.S. Patent and
                                                            Trademark Office ("USPTO") for use in connection with
    DEBORAH A. BATTS, United States District Judge.
                                                            "providing casino services within a hotel environment."
I. INTRODUCTION                                             See USPTO Reg. No. 3,031,006. SBM has also filed an
                                                            application for another mark with the same designation,
    Societe des Bains de Mer et du Cercle des Etrangers     CASINO DE MONACO, but for use in connection with
a Monaco's ("SBM") is the operator of all casino            casino services. See USPTO Appl. Serial No. 77/329,567.
properties, and other attractions, in the Principality of   Finally, SBM filed an application for the mark CASINO
                                                            DE MONTE-CARLO. See USPTO Appl. Serial No.
          Case 2:17-cv-00002-RAJ Document 1-8 Filed 01/03/17 Page 32 of 156
                                                                                                          Page 2
                                           2010 U.S. Dist. LEXIS 33950, *2



77/329,593. SBM does not allege in its complaint that              grandmonacobingo.com, grandmonacobingo.net,
Playshare is infringing on its unregistered mark CASINO            grandmonacocasinoclub.com,
DE MONTE-CARLO. However, SBM clearly conflates                     grandmonacocasinoclub.net,
the marks CASINO DE MONACO and CASINO DE                           grandmonacocasinoclub.org,
MONTE-CARLO in its arguments to the Court.                         grand-monaco-casino.com,
                                                                   grandmonacocasino.com, grandmonacocasino.net,
       1     The Defendants in the New York action                 grandmonacocasino.org, grandmonacoclub.com,
       (Docket No. 07 [*3] Civ. 4802) are Playshare                grandmonaco.com,            grandmonaco.com,
       PLC, Grand Monaco Ltd., GamShare (UK) Ltd.,                 grandmonacocraps.com,
       Lucan Ton, Maxwell Wright, and Hillstead Ltd.               grandmonacogames.com, grandmonacogames.net,
       For ease of reference, the Court will refer to the          grandmonacogaming.com,
       Defendants in the New York action and the                   grandmonacogaming.net, grandmonacohost.com,
       Counterclaim-Plaintiffs in the former Arizona               grandmonacohosts.com,
       action (Docket No. 08 Civ. 2278) collectively as            grandmonacolottery.com,
       "Playshare."                                                grandmonacolottery.net, grandmonacolotto.com,
                                                                   grandmonacolounge.com,
     On June 19, 2007, Playshare, and two other                    grandmonacomahjong.com,                   [*5]
Defendants from the New York action, Lucan Toh and                 grandmonacomillions.com,
Maxwell Wright 2, subsequently filed a complaint in U.S.           grandmonacomillions.net,
District Court in Arizona seeking a declaratory judgment           grandmonacomillions.org,     grandmonaco.net,
that: (1) Playshare's use of the Monaco Domain Names is            grandmonaconews.com,
in compliance with the Anticybersquatting Consumer                 grandmonacoonlinecasino.com,
Protection Act; (2) SBM's mark CASINO DE                           grandmonacoonlinegaming.com.
MONACO, U.S. Trademark, Registration No. 3,031,006,                grandmonacoonlinepoker.com, grandmonaco.org,
is invalid and unenforceable; and (3) SBM's unregistered           grandmonacopartners.com,
mark CASINO DE MONTE-CARLO is unenforceable. 3                     grandmonacoplayersclub.com,
The Arizona action was transferred to this Court on April          grandmonacoplayersclub.net,
11, 2008 and consolidated with the New York action for             grandmonacopokerclub.com,
all purposes under Docket No. 07 Civ. 4802. For                    grandmonacopokerclub.net,
purposes of this consolidated action, the Court treats             grandmonacopokerclub.org,
Playshare's claims from the Arizona action as                      grandmonaco-poker.com,
Counterclaims. Accordingly, in this Opinion, SBM is                grandmonacopoker.com. grandmonacopoker.net,
known       as   the     Plaintiff/Counterclaim-Defendant.         grandmonacopoker.org,
Playshare is [*4] the Defendant/Counterclaim-Plaintiff.            grandmonacopromotions.com,
                                                                   grandmonacoracebook.com,
       2    The Counterclaim-Plaintiffs in the former
                                                                   grandmonacoracebook.net,
       Arizona action are Playshare PLC, Lucan Toh and
                                                                   grandmonacoracebook.org,
       Maxwell Wright. Again, for ease of reference,
                                                                   grandmonacorewards.com,
       they will be referred to as "Playshare."
                                                                   grandmonacoskillgames.com,
       3 In UDRP Domain Name Decision Case No.
                                                                   grandmonacoskillgames.net,
       D2007-0249,          the       WIPO      ordered
                                                                   grandmonacoslots.com,
       Defendants/Counterclaim-Plaintiffs Lucan Toh
                                                                   grandmonacosportsbook.com,
       and Maxwell Wright to transfer the following
                                                                   grandmonacosportsbook.net,
       domain names to SBM, all of which contained the
                                                                   grandmonacosports.com, grandmonacosports.net,
       noun "Monaco" and often accompanied with the
                                                                   grandmonacostore.com,
       Noun "Grand" and/or a noun whose meaning is
                                                                   grandmonacosupport.com,
       associated with gaming: casinograndmonaco.com,
                                                                   grandmonacovideopoker.com,
       casinograndmonaco.net, casinograndmonaco.org,
                                                                   pokergrandmonaco.net,                      and
       deutschesgrandmonaco.com,
                                                                   pokergrandmonaco.org.
       grandmonacoayda.com, grandmonacoayuda.com,
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     Now before the Court are cross-motions by               operate an on-line gaming business, it has represented
Playshare and SBM for summary judgment and                   that its entry into the online-gaming market is
Playshare's motion to strike the report of SBM's expert.     "imminent." (Lambert Decl. P 9.) SBM operates no
Dr. Ronald Butters. Specifically, Playshare moves for        casinos in the U.S and has no casino by the name of
summary judgment on all counts against it and to dismiss     Casino de Monaco. (SBM's Response to Playshare's 56.1
SBM's Second Amended Complaint in its entirety. SBM          Stmt. PP 58-60, 66.)
cross-moves [*6] for summary judgment on liability
only, and preserves its demand for a jury trial with             3. SBM NY and its activity in the U.S.
respect to damages. For the reasons below. Playshare's
                                                                  SBM has a New York subsidiary ("SBM NY") that
motion is granted in part and denied in part. SBM's
                                                             engages in "sales offerings and/or sales to U.S. Residents
Motion is denied in its entirety. Due to the Court's
                                                             of casino services, includ[ing], casino gift vouchers for
findings on the cross motions for summary judgment,
                                                             chips to be used at SBM's casinos in Monaco, as well as
Playshare's motion to strike Dr. Ronald Butters' expert
                                                             actual chips themselves; complementary admission to the
report is moot.
                                                             Casino de Monte-Carlo; [*8] lines of credit for wagering
II. BACKGROUND                                               in Monaco; reservations for private rooms at the Casino
                                                             de Monte-Carlo; and SBM's Games Initiation program."
A. FACTUAL HISTORY                                           (Lambert Decl. P 20.) SBM "offers for sale and/or sells
                                                             casino services to Americans in the [form of] U.S. Casino
    1. Playshare                                             gift vouchers, which are pre-paid credit certificates
                                                             redeemable for chips for wagering at any of SBM's"
     Defendant/Counterclaim-Plaintiff PlayShare is a         Monaco casinos. (Lambert Decl. P 21.) American
United Kingdom company that owns non-party Naden,            clientele can have these vouchers offered through SBM's
Inc. ("Naden"). (Wright Decl. PP 2-3.) Playshare             website (www.montecarlocasinos.com) sent to them by
acquired Naden on November 2, 2006. (Wright Decl. P          mail in the U.S. (Lambert Decl. P21.) American
3.) As a subsidiary of Playshare, Naden owns and             corporate groups can purchase these vouchers through
operates the on-line gaming website Grand Mondial            SBM NY. (Lambert Decl. P 21.) SBM has identified 326
Casino. (Wright Decl. P3.) The Grand Mondial Casino          casino vouchers sold to 180 U.S. consumers (representing
was formerly the Grand Monaco Casino. (Wright Decl. P        13 reservations, for a total of 7,882 Euros since 2005).
3.) Defendants Grand Monaco Ltd. and GamShare (UK)           (Lambert Decl. P 22.) Americans can pre-purchase casino
Ltd. do not currently have operations. (Wright Decl. P 4.)   chips on SBM's websites (www.montecarloresort.com
Defendant Hillstead, Ltd. is a subsidiary of Naden and       and www.casinodemonaco) (Lambert Decl. P 23.)
handles financial transactions for its parent. (Wright       American corporate groups can purchase casino chips
Decl. P5.) Defendant/Counterclaim-Plaintiff Maxwell          through SBM NY. (Lambert Decl. P23.) SBM also offers
Wright is the Chief Executive Officer of Playshare.          a "Gold Card" to guests of its hotel properties. (Lambert
(Wright Decl. P 1.) Defendant/Counterclaim-Plaintiff         Decl. P 24.) The Gold Card permits its hotel guests to
Lucan [*7] Toh is a former director of PlayShare.            receive free admission to the Casino de Monte-Carlo.
(Wright Decl. P 1.) Lucan Toh resigned in October of         [*9] (Lambert Decl. P 24.)
2006, before PlayShare's acquisition of Naden and Grand
Monaco Casino (now Grand Mondial Casino). (Wright                 SBM NY assists corporate and individual clients in
Decl. P 6.)                                                  their needs for planning and executing visits to SBM
                                                             properties. (SBM's 56.1 Stmt. P 34-40.) SBM NY
    2. SBM                                                   processes the contracts with SBM's corporate clients and
                                                             individual clients. (SBM's 56.1 Stmt. P 38.) Deposits and
     Plaintiff/Counter-claim Defendant SBM is a societe
                                                             installment payments are sent directly from the U.S.
anonyme organized and existing under the laws of the
                                                             client to SBM in Monaco, via wire transfer. (SBM's 56.1
Principality of Monaco. (Lambert Decl. P 2.) SBM is the
                                                             Stmt. P 38.) All booking contracts are signed in Monaco.
founder and manager of five Monaco-based casinos and
                                                             (SBM's Response to Playshare's 56.1 Stmt. P 71.)
operates restaurants, hotels, spas, a theater and an opera
house in Monaco. (Lambert Decl. P 4; SBM's Response              4. SBM's marks
to Playshare's 56.1 Stmt. PP 61-64.) While SBM does not
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     On December 24, 2002, SBM applied in the USPTO,        Grand Monaco and Grand Mondial for its on-line gaming
Appl. Serial No. 76/478,796, for registration of the mark   website
CASINO DE MONACO. (SBM's Response to
Playshare's 56.1 Stmt. P 132.) The mark was filed, inter         On November 2, 2006, PlayShare acquired Grand
alia, based on claimed bona fide intent to use for a host   Monaco Casino (now Grand Mondial Casino) from a
of certain goods and services and based on SBM's foreign    company called Mountain Breeze Trust when Playshare
mark, CASINO DE MONACO (02.23234), issued by                purchased the capital shares of Naden. (Wright Decl. PP
Monaco. (SBM's Response to Playshare's 56.1 Stmt.           3, 11.) Playshare did no due diligence on the purchase.
P133.) On February 4, 2004, the USPTO refused to            (Wright Decl. P 12, Ex.5.) Grand Monaco Casino had
register the claimed mark as merely descriptive of casino   been in operation since July 2006. Prior to Playshare's
services emanating from Monaco. (SBM's Response to          acquisition of Naden, Grand Monaco Casino's website
Playshare's 56.1 Stmt. P 137.) In response, SBM             had a disclaimer that stated, "Grand Monaco Casino is in
submitted evidence that its mark had acquired secondary     no way associated with the Principality of Monaco, nor
meaning, and [*10] on December 20, 2005, the USPTO          any of the land-based casino operations located in that
registered the mark CASINO DE MONACO. (See                  jurisdiction." (SBM's Response to Playshare's 56.1 Stmt.
USPTO Reg. No. 3, 031, 006.) On December 20, 2008           P 19.) Playshare's acquisition of Naden included the
(following the commencement of this action), SBM            acquisition of certain domain [*12] names, some of
voluntarily amended its mark for CASINO DE                  which had been registered before December 20, 2005, the
MONACO to limits its use to "providing casino services      date a trademark was issued to SBM. (Wright Decl. P
within a hotel environment." (SBM's Response to             27.)
Playshare's 56.1 Stmt. P 148.) SBM's registered mark for
                                                            B. PROCEDURAL HISTORY
CASINO DE MONACO is based on a bona fide intent to
use the mark. (SBM's 56.1 Stmt. P 14.)                          1. THE WIPO Administrative Panel
     On November 14, 2007 (after commencement of this           SBM contends that the domain names Playshare
action), SBM filed an application for a mark with the       acquired when it purchased Naden were registered to
exact same designation: CASINO DE MONACO. (See              capture internet traffic intended for SBM's websites.
USPTO Appl. Serial No. 77/329,567; SBM's Response to        (SBM's Response to Playshare's 56.1 Stmt. P 21; Weiss
Playshare's 56.1 Stmt. P 150.) However, the application     Decl. P 14, Exh. 10.) Accordingly, on March 21, 2007,
for this mark is for use in connection with casino          SBM filed a complaint before the WIPO's non-binding
services. (Id.) Playshare has opposed SBM's application;    Uniform      Domain      Name    Dispute    Resolution
the new registration is still pending. (Playshare's 56.1    Administrative Panel 4 over the Monaco Domain Names.
Stmt. P 153.) Also on November 14, 2007, SBM filed an       SMB named Defendants/Counterclaim-Plaintiffs Lucan
application for the mark CASINO DE MONTE-CARLO.             Toh and Maxwell Wright, challenging their ownership of
(See USPTO Appl. Serial No. 77/329, 593.)                   the Monaco Domain Names. (SBM's Response to
                                                            Playshare's 56.1 Stmt. P 35.)
     SBM contends that the name CASINO DE
MONACO is an umbrella term for all its Monaco-based                4        The Uniform Domain Name Dispute
casinos. (SBM's 56.1 Stmt. P 19.) SBM uses CASINO                  Resolution Policy ("UDRP") focuses on conflicts
DE MONACO on its website and [*11] orally when                     between trademarks and domain names. If a
promoting its casino and casino-related services. (SBM's           trademark holder believes a domain name
56.1 Stmt. P 19.) CASINO DE MONACO is a nickname                   registration infringes on its trademark, it may
for the Casino de Monte-Carlo, and many people,                    initiate a proceeding under the UDRP. Under the
including Americans, use the name CASINO DE                        standard dispute clause in the registration of a
MONACO to refer to the Casino de Monte-Carlo, which                domain name, the registrant must submit to such
embodies tremendous goodwill, glamour, elegance and                proceedings. A domain name is either transferred,
style in the gaming industry. (SBM's 56.1 Stmt. PP                 or the complaint is denied and the [*13]
21-24.)                                                            respondent keeps the domain name. No monetary
                                                                   damages or injunctive relief is available. The
    5. Playshare's acquisition and use of the names
                                                                   decision is implemented after a period of ten days,
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       unless the decision is appealed in court in that      Deceptive Acts and Practices under [*15] New York
       time. Under the UDRP, either party can take the       Law; (5) False Advertising under New York Law; (6)
       dispute to a court of competent jurisdiction for      Injury to Business Reputation and Dilution under New
       independent resolution. UDRP Policy provides          York Law; (7) New York Common Law Trademark
       that its proceedings shall not prevent either party   Infringement; and (8) New York Common Law Unfair
       from submitting the dispute to a court of             Competition. To protect its registered mark, CASINO DE
       competent jurisdiction for independent resolution.    MONACO, SBM seeks, inter alia, a permanent
       A party can commence a lawsuit after the              injunction restraining Playshare from infringing on
       administrative proceeding is concluded if it is not   SBM's mark, CASINO DE MONACO, and restraining
       satisfied     with     the      outcome.       (See   Playshare from using the designations GRAND
       http://www.wipo.int/amc/en/domains/guide              MONACO, GRAND MONACO CASINO, GRAND
       /index.html)                                          MONDIAL CASINO, and GRAND MONDIAL, or any
                                                             use of the place names MONACO or MONTE-CARLO
     In response to the dispute, in May 2007, PlayShare      for casino services. SBM also seeks a confirmation of the
selected GRAND MONDIAL as its new identifying                transfer of all the Monaco Domain Names from Playshare
name, and registered GRAND MONDIAL as a                      to SBM by the WIPO.
trademark. (Wright Decl. P 23.) Grand Mondial Casino
was launched on August 14, 2007. (Wright Decl. P 24.)               5 Southern District of New York Docket No. 07
                                                                    Civ, 4802.
     However, SBM continued to pursue its claims. On                6      Playshare PLC, Grand Monaco Ltd.,
May 25, 2007, the WIPO Panel issued a decision in favor             GamShare (UK) Ltd., Lucan Toh, Maxwell
of SBM. While the Panel did not address the issue of                Wright, and Hillstead Ltd.'s are all Defendants in
whether the mark CASINO DE MONACO was valid, the                    the New York action.
Panel found that: (1) the Monaco Domain Names are
identical or confusingly similar to SBM's [*14]                  3. The Arizona action
trademark; (2) Playshare has no rights or legitimate
interests in the Monaco Domain Names; and (3) the                 On June 19, 2007, Playshare filed a separate action
Monaco Domain Names were registered and are being            in the U.S. District Court of Arizona 7 challenging the
used in bad faith. See WIPO UDRP Domain Name                 WIPO's decision requiring Playshare to transfer
Decision No. D2007-0249. The Panel ordered the transfer      ownership the Monaco Domain Names to SBM.
of the Monaco Domain Names from Lucan Toh and                Playshare seeks a declaratory judgment on three counts:
Maxwell Wright to SBM. Id. The WIPO did not address          (1) Playshare's use of the [*16] Monaco Domain Names
the validity of SBM's trademark and its decision is to be    is in compliance with the Anticybersquatting Consumer
given no deference here. Barcelona.com, Incorporated v.      Protection Act; (2) SBM's mark CASINO DE
Excelentisimo Ayuntamiento De Barcelona, 330 F.3d            MONACO, U.S. Trademark, Registration No. 3,031,006,
617, 625-26 (4th Cir. 2003).                                 is invalid and unenforceable; and (3) SBM's unregistered
                                                             mark CASINO DE MONTE-CARLO is unenforceable.
    2. The New York action                                   The Arizona action was transferred to this Court on April
                                                             11, 2008 and consolidated with the New York action for
    On June 6, 2007, SBM filed a Complaint 5 in U.S.         all purposes under Docket No. 07 Civ. 4802. The
District Court in New York, and filed a Second Amended       consolidated action is known, as captioned, "In re Casino
Complaint on January 14, 2008, alleging that Playshare's     de Monaco Trademark Litigation."
6 use of the designations GRAND MONACO, GRAND
MONACO CASINO, GRAND MONDIAL CASINO,                                7 Now, S.D.N.Y. Docket No. 07 Civ. 4802.
and GRAND MONDIAL, along with the Monaco
Domain Names, infringes on SBM's claimed rights in the       III. DISCUSSION
mark CASINO DE MONACO. Specifically, SBM's
                                                             A. SUMMARY JUDGMENT STANDARD
Second Amended Complaint has eight counts: (1) Federal
Unfair Competition under Section 43(a) of the Lanham             The standards governing motions for summary
Act; (2) Federal Trademark Infringement under Section        judgment are well-settled. A court may grant summary
32(1) of the Lanham Act; (3) Federal Cybersquatting; (4)
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judgment only where there is no genuine issue of material          To prevail on a trademark infringement and unfair
fact and the moving party is therefore entitled to            competition claim under 15 U.S.C. §§ 1114(1) and
judgment as a matter of law. See Fed R. Civ. P. 56(c);        1125(a), SBM must show: (1) its Mark is protected; and
accord Matsushita Elec. Indus. Co. v. Zenith Radio            (2) Playshare's use of its allegedly infringing mark would
Corp., 475 U.S. 574, 585-87, 106 S. Ct. 1348, 89 L. Ed.       likely cause confusion as to the origin or sponsorship of
2d 538 (1986). Summary judgment should be denied "if          the Playshare's goods with SBM's goods. Starbucks Corp.
the evidence is such that a reasonable jury could return a    v. Wolfe's Borough Coffee, Inc., 588 F.3d 97, 114-15 (2d
verdict" in favor of the non-moving party. See NetJets        Cir. 2009); see also Savin Corp. v. Savin Group, 391
Aviation, Inc. v. LHC Commc'ns, LLC, 537 F.3d 168,            F.3d 439, 456 (2d Cir. 2004).
178-79 (2d Cir. 2008).
                                                                  2. Validity of SBM's marks
     In deciding a motion for [*17] summary judgment,
the Court must construe the evidence in the light most            a. The mark CASINO DE MONACO
favorable to the non-moving party and draw all
                                                                   SBM owns the Mark CASINO DE MONACO, U.S.
reasonable inferences in the non-moving party's favor. In
                                                              Trademark Registration No. 3,031,006, for use in
re "Agent Orange" Prod. Liab. Litig., 517 F.3d 76, 87
                                                              connection with "providing casino services within a hotel
(2d Cir. 2008). A court faced with cross-motions for
                                                              environment." (SBM's [*19] 56.1 Stmt. P 14.) SBM's
summary judgment need not "grant judgment as a matter
                                                              trademark is based on a bona fide intent to use the mark.
of law for one side or the other," but "'must evaluate each
                                                              (SBM's 56.1 Stmt. P 14.)
party's motion on its own merits, taking care in each
instance to draw all reasonable inferences against the              Playshare argues that, inter alia, despite SBM's
party whose motion is under consideration.'" Heublein,        registration of CASINO DE MONACO, SBM has no
Inc. v. United States, 996 F.2d 1455, 1461 (2d Cir. 1993)     protectable rights in its mark. Playshare's rationale is that
(quoting Schwabenbauer v. Bd. of Educ. of Olean, 667          SBM does not provide goods or services in the U.S., so
F.2d 305, 313-14 (2d Cir. 1981)).                             that it has no trademark rights in the mark. ITC Ltd. v.
                                                              Punchgini, Inc., 482 F.3d 135, 155 (2008) (a mark owner
B. SBM'S TRADEMARK INFRINGEMENT AND
                                                              must take the proper steps to ensure that its rights to that
UNFAIR COMPETITION CLAIMS
                                                              mark are recognized in any country in which it seeks to
     At issue in this case are two marks held by SBM: (1)     assert them); see also American Express Co. v. Goetz,
CASINO DE MONACO; and (2) CASINO DE                           515 F.3d 156, 161 (2d Cir. 2008)(service mark not in use
MONTE-CARLO. In its Complaint, SBM alleges that               if it is displayed in an advertisement for services that are
Playshare is infringing only on its mark CASINO DE            non-existent or will only hypothetically be available at
MONACO by use of its Monaco Domain Names and its              some point in the future); Buti v. Impressa Perosa, S.R.L.,
name GRAND MONDIAL. Accordingly, as to SBM's                  139 F.3d 98 (2d Cir. 1998) (service mark claimant did
claims, the Court will conduct a summary judgment             not provide its actual business services in the United
analysis only as to the mark CASINO DE MONACO,                States, but only advertised and promoted those services).
and not the mark CASINO DE MONTE-CARLO.                       Mere advertising and promotion of a mark in this country
However, Playshare's [*18] Counterclaims (that arrived        are not enough to constitute "use" of the mark "in
from the Arizona action) seeks a declaratory judgment         commerce," to bring the activity within the scope of the
that Playshare has not infringed on either mark held by       Lanham Act.
SBM. More specifically, Playshare's seeks a declaratory
                                                                  SBM argues that it makes [*20] service-mark use in
judgment that SBM's mark CASINO DE MONACO is
                                                              the U.S. of its mark in connection with an established
invalid, unenforceable and SBM's mark CASINO DE
                                                              business or trade. Morningside Group Ltd. v.
MONTE-CARLO is unenforceable. Accordingly, the
                                                              Morningside Capital Group, L.L.C., 182 F.3d 133 (2d
Court will address SBM's mark CASINO DE
                                                              Cir. 1999) (U.S. business acquisitions, attracting U.S.
MONTE-CARLO only in context of Playshare's
                                                              co-investors, and directing money from U.S. banks to
Counterclaims for declaratory judgment.
                                                              Asia is adequate activity for an investment firm under the
    1. Trademark infringement and unfair competition          Lanham Act).
standard
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    Section 43(a) of the Lanham Act states:                           weakens the likeliness that CASINO DE
                                                                      MONACO could retain any secondary meaning.
         (1) Any person who, on or in connection                      Second, any secondary meaning that the mark
       with any goods or services, . . . uses in                      CASINO DE MONACO can acquire vis-a-vis the
       commerce any word. term, name, symbol,                         use of the mark [*22] CASINO DE
       or device, or any combination thereof, . . .                   MONTE-CARLO is limited by the fact that SBM
       which--                                                        is in an on-going dispute with U.S.-based Victoria
                                                                      Partners over the Monte-Carlo designation when
            (A) is likely to cause confusion, or to                   used with the casino business. Without some
       cause mistake, or to deceive as to the                         resolution,     the    mark      CASINO       DE
       affiliation, connection, or association of                     MONTE-CARLO can be reasonably construed as
       such person with another person, or as to                      not "identifying a single source of origin."
       the origin, sponsorship, or approval of his                    Streetwise Maps, Inc. v. VanDam, Inc., 159 F.3d
       or her goods, services, or commercial                          739, 743 (2d Cir. 1998)(a trademark should
       activities by another person.                                  identify goods sold from a single source).

            ****                                                   SBM's registration of Casino de Monaco required
                                                              that it affirm that it had a bone fide intent to use the mark.
            shall be liable in a civil action by any          15 U.S.C. § 1126(d)(2). However, regardless of SBM's
       person who believes that he or she is or is            intent, which is disputed, SBM has not used the mark in
       likely to be damaged by such act.                      any meaningful way anywhere. And SBM has not shown
                                                              that it has used the mark in the United States at all. SBM
15 U.S.C. § 1125(a).                                          argues that its "U.S. based direct sales activities represent
                                                              'material aspects' of SBM's casino business...and thus are
     "Services," as used in the Lanham Act, has been
                                                              properly considered 'services...rendered in commerce."
defined as "the performance of labor for the benefit of
                                                              for SBM's mark CASINO DE MONACO. (SBM's Opp.
another" (Advertising & Marketing, 821 F.2d at 619,
                                                              Br. p. 10.) However, the record is devoid of evidence that
quoting In re Canadian Pac. Ltd., 754 F.2d 992, 994
                                                              would create a genuine issue of material fact that SBM
(Fed.Cir. 1985)). [*21] Those services must not be
                                                              uses the mark CASINO DE MONACO to identify its
"solely for the benefit of the performer; the services must
                                                              services, anywhere, but particularly in the [*23] United
be rendered to others" (Murphy v. Provident Mut. Life
                                                              States. First, there does not exist in Monaco, or anywhere
Ins. Co., 923 F.2d 923, 927 (2d Cir. 1990)). Further, the
                                                              else, a casino identified by the name Casino de Monaco.
claimant must have used the claimed mark to identify its
                                                              (SBM's Response to Playshare's 56.1 Stmt. P 66.)
services (Advertising & Marketing, 821 F.2d at 620).
                                                              Nevertheless, SBM asserts that the mark CASINO DE
    In relation to SBM's mark CASINO DE MONACO,               MONACO is: (1) used as a nickname or moniker for
SBM's activities in the United States do not constitute       Casino de Monte-Carlo; (2) employed on casino
"services" within the meaning of the Lanham Act. 8 The        website(s); and (3) an umbrella term/brand to refer to
record fully supports this finding by the Court.              SBM's five casinos in Monaco. (SBM's Response to
                                                              Playshare's 56.1 Stmt. PP 66-68.) However, all that SBM
       8 In an effort to bolster its rights in the mark       can show to support these representations are self-serving
       CASINO DE MONACO, SBM conflates it with                affidavits. (Id.) Even if this claimed use of the mark
       the mark CASINO DE MONTE-CARLO. This                   CASINO DE MONACO was not insignificant on this
       may be in an attempt to create secondary meaning       record, which it is, all of its use of the mark occurs
       in the mark CASINO DE MONACO, which does               outside of the United States. There is no real evidence
       not exist. First, CASINO DE MONACO is not an           that the claimed nickname/moniker/umbrella term that
       actual casino, while Casino de Monte-Carlo is a        signifies CASINO DE MONACO has ever existed in the
       real casino. This matters because the use of place     United States. The one real possibility that SBM could
       names in marks results in heightened scrutiny for      show activity in the United States is in the use of the
       those marks under the Lanham Act. Lack of use,         mark CASINO DE MONACO in SBM's website.
       coupled with the place name in the mark, severely      However, the record reflects that the webpages produced
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by SBM where created on or after April 14, 2008 (after         Monte-Carlo. (Lambert Decl. P 24.) While the activity in
this case began), and SBM can not show that anyone in          the record constitutes nothing more than promotional and
the U.S. ever viewed the pages. [*24] (SBM's Response          advertising activity in the U.S., the activity does use and
to Playshare's 56.1 Stmt. PP 121-23.) It does not bolster      incorporate the mark CASINO DE MONTE-CARLO so
SMB's position that all activity SBM engages in the            that it constitutes "use" [*26] of the mark "in
United States amounts to nothing more than advertising         commerce," so as to bring the activity within the scope of
and promotion of SBM's operations outside the U.S., i.e.,      the Lanham Act.
in Monaco. What is clear is that there is no evidence on
the record that this limited activity ever implicated the          3. Likelihood of confusion
mark CASINO DE MONACO.
                                                                   In determining whether there is a likelihood of
    b. The mark CASINO DE MONTE-CARLO                          confusion, the Court must apply the eight-factor
                                                               balancing test introduced in Polaroid Corp. v. Polarad
     SBM's utter lack of use of the mark CASINO DE             Elecs, Corp., 287 F.2d 492 (2d Cir.1961); see also
MONACO anywhere, let alone in the United States,               Starbucks Corp, 588 F.3d at 115. However, since the
requires this Court to refuse to enforce SBM's right in the    Court found that SBM's mark CASINO DE MONACO is
mark CASINO DE MONACO. This result is bolstered                not protectable, the Court does not need to engage in this
not just by SBM's lack of use, but by the fact that SBM        analysis.
hardly has any territorial connection with the United
States for purposes of the Lanham Act. 9 However, the          C. PLAYSHARE'S DECLARATORY JUDGMENT
Court finds that the limited activity is enough under the      CLAIMS
Lanham Act to protect SBM's purported right to the
                                                                   The Declaratory Judgment Act provides that "[i]n a
unregistered mark CASINO DE MONTE-CARLO
                                                               case of actual controversy within its jurisdiction ... any
because SBM actually utilizes that mark in the United
                                                               court of the United States . . . may declare the rights and
States. Morningside Group Ltd., 182 F.3d at 138.
                                                               other legal relations of any interested party seeking such
       9 Under current guidance by the Second Circuit,         declaration. . . ." 28 U.S.C. § 2201. Sony Elecs., Inc. v.
       whether SBM could maintain any mark in the              Guardian Media Techs., Ltd., 497 F.3d 1271, 1283
       United States is a close call. Compare Buti, 139        (Fed.Cir.2007). Among other things, this means that "a
       F.3d at 105 with Morningside Group Ltd., 182            court may not adjudicate 'a difference or dispute of a
       F.3d at 138. [*25] This is not withstanding             hypothetical or abstract character' or 'one that is academic
       SBM's favorable ruling regarding its unregistered       or moot.'" Cat Tech LLC v. TubeMaster, Inc., 528 F.3d
       Casino de Monte-Carlo Mark in Inter                     871, 879 (Fed.Cir. 2008).
       International Bancorp, LLC v. Societe des Bains
                                                                    In Aetna Life Insurance Co. of Hartford, Connecticut
       de Mer et du Cercle des, 329 F.3d 359 (4th Cir.
                                                               v. Haworth, 300 U.S. 227, 57 S. Ct. 461, 81 L. Ed. 617
       2003).
                                                               (1937), [*27] to meet the actual controversy standard, a
     The rationale for this result is that SBM can show it     dispute must be "definite and concrete, touching the legal
uses its mark CASINO DE MONTE-CARLO in the U.S.                relations of parties having adverse legal interests." Id.
For instance, SBM NY targets Americans to package,             300 U.S. 227, 240-41 (1937). The dispute must be "real
market and sell SBM's facilities in Monaco, including the      and substantial," id. at 241, and it must "admi[t] of
Casino de Monte-Carlo. (SBM's Response to Playshare's          specific relief through a decree of a conclusive character,
56.1 Stmt. P 70.) Examples of SBM NY's sales of casino         as distinguished from an opinion advising what the law
services, include, casino gift vouchers, actual chips, lines   would be upon a hypothetical state of facts." Id. See also
of credit, SBM Games Initiation and private rooms and/or       MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118, 127,
admission at the Casino de Monte-Carlo. (Lambert Decl.         127 S. Ct. 764, 166 L. Ed. 2d 604 (2007) (quoting Aetna).
P       20.)     SBM         maintains       a      website
                                                                   Here, it is clear there remains an actual controversy
(www.montecarlocasinos.com) that offers the casino gift
                                                               between the Parties necessitating the issuance of a
vouchers and casino chips to U.S. residents. (Lambert
                                                               declaratory judgment.
Decl. P21.) SBM also offers all guests to its hotel
properties a gold card to gain entrance to the Casino de
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    First, the Court has declined to exercise its              CASINO DE MONACO, as a matter of law, the mark is
supplemental jurisdiction over the state law claims in this    invalid and unenforceable. Accordingly, the Court grants
case. An actual controversy still exists as to those claims.   summary judgment in favor of Playshare on
                                                               Counterclaim II and finds that a declaratory judgment is
     Second, the Parties in this case are sophisticated        proper.
business entities and persons. It is reasonable for the
Court to assume that either Party will zealously protect its     3. Unenforceability of SBM's mark CASINO DE
rights. Since the Parties will continue to operate in the      MONTE-CARLO
similar business sectors, it is possible another dispute
could arise. It is helpful if this Court spell out what the         In this Opinion, supra, the Court has found that that
Parties rights are to the marks at issue in [*28] this case.   SBM has used its unregistered mark CASINO DE
While a threat of suit is not necessary to declaratory         MONTE-CARLO in commerce as required under U.S.C.
judgment jurisdiction, an aggressive litigation strategy       §§ 1051 and 1127. Therefore, for purposes of this
(such as what was demonstrated in this three year              dispute, the mark CASINO DE MONTE-CARLO is
litigation) may signal the existence of an actual              valid. Since SBM has not alleged any infringement of its
controversy. See Micron Technology, Inc. v. Mosaid             mark CASINO DE MONTE-CARLO and, Playshare's
Technologies, Inc., 518 F.3d 897, 899-901 (Fed.Cir.            Monaco Domain Names are not implicated by the
2008). Accordingly, a declaratory judgment is                  enforceability [*30] of the mark CASINO DE
appropriate in this action. Playshare seeks a declaratory      MONTE-CARLO, the Court finds it should dismiss
judgment on three its three Counterclaims: (1) Playshare's     Counterclaim III as moot.
use of the Monaco Domain Names is in compliance with
                                                               IV. CONCLUSION
the Anticybersquatting Consumer Protection Act; (2)
SBM's "Casino de Monaco" U.S. Trademark,                            On SBM's federal and state claims, the Court finds
Registration No. 3,031,006, is invalid and unenforceable;      that SBM's mark CASINO DE MONACO, registered
and (3) SBM's unregistered mark CASINO DE                      under U.S. Trademark Registration No. 3,031,006, is
MONTE-CARLO is unenforceable.                                  HEREBY CANCELLED as it does not constitute a
                                                               protectable service mark under the Lanham Act.
    1. Playshare's use of the Monaco Domain Names
                                                               Accordingly, Playshare's Motion for Summary Judgment
     In this Opinion, the Court cancelled SBM's mark           on all of SBM's federal claims is HEREBY GRANTED.
CASINO DE MONACO, as it does not constitute a                  The Court HEREBY DISMISSES, without prejudice, all
protectable service mark under the Lanham Act. SMB's           of SBM's state law claims on the basis of declining to
entire basis for its Cybersquatting Claim was predicated       exercise supplemental jurisdiction under 28 U.S.C. §
on the existence of SMB's mark CASINO DE                       1367 (c) (3).
MONACO. (See SBM's Second Amended Complaint P
                                                                   On Playshare PLC, Lucan Ton, and Maxwell Wright
69-72.) Since the mark is no longer owned by SBM, as a
                                                               Counterclaims, it is HEREBY DECLARED and
matter of law, Playshare can not be in violation [*29] of
                                                               ADJUDGED that Playshare's use of the designations
the Anticybersquatting Consumer Protection Act, 15
                                                               GRAND MONACO, GRAND MONACO CASINO,
U.S.C. § 1125(d)(1), in relation to its use of the Monaco
                                                               GRAND MONDIAL CASINO and GRAND MONDIAL
Domain Names and any infringement of SBM's (former)
                                                               does not infringe on SBM's (now cancelled) mark
mark CASINO DE MONACO. The Court vacates the
                                                               CASINO DE MONACO. In addition, UDRP Domain
WIPO Decision and the Monaco Domain Names shall
                                                               Name Decision Case No. D2007-0249WIPO decision is
remain with Lucan Toh and Maxwell Wright.
                                                               HEREBY VACATED; the Monaco Domain Names listed
Accordingly, the Court grants summary judgment in
                                                               in Footnote No. 3 are to remain with Defendants Lucan
favor of Playshare on Counterclaim I and finds that a
                                                               Toh and Maxwell Wright. Playshare's Motion for
declaratory judgment is proper.
                                                               Summary Judgment on the Counterclaims I and II is
  2. Unenforceability of SBM's mark CASINO DE                  HEREBY GRANTED. Further, [*31] the Court
MONACO                                                         DISMISSES Playshare's Counterclaims in COUNT III as
                                                               moot. Finally, as the Court found that CASINO DE
    Similarly, as the Court cancelled SBM's mark               MONACO is not a protectable mark, Playshare's motion
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to strike Dr. Butters' expert report is moot. As all claims      March 31, 2010
in this action have been dismissed, the Clerk is
DIRECTED to close the docket in this case. SO                    /s/ Deborah A. Batts
ORDERED.
                                                                 Deborah A. Batts
    Dated: New York, New York
                                                                 United States District Judge
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Protocol Relating to the Madrid Agreement Concerning the
International Registration of Marks
Protocol Relating to the Madrid Agreement Concerning the International
Registration of Marks (as amended on November 12, 2007) (Authentic text)

    Bibliographic Entries      Texts


                Protocol Relating to the Madrid Agreement Concerning
                        the International Registration of Marks
                                     adopted at Madrid on June 27, 1989,
                                       as amended on October 3, 2006
                                          and on November 12, 2007

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                                              Article 1
                                    Membership in the Madrid Union

The States party to this Protocol (hereinafter referred to as “the Contracting States”), even where they are not
party to the Madrid Agreement Concerning the International Registration of Marks as revised at Stockholm
in 1967 and as amended in 1979 (hereinafter referred to as “the Madrid (Stockholm) Agreement”), and the
organizations referred to in Article 14(1)(b) which are party to this Protocol (hereinafter referred to as “the
Contracting Organizations”) shall be members of the same Union of which countries party to the Madrid
(Stockholm) Agreement are members. Any reference in this Protocol to “Contracting Parties” shall be
construed as a reference to both Contracting States and Contracting Organizations.




                                              Article 2
                       Securing Protection through International Registration

(1) Where an application for the registration of a mark has been filed with the Office of a Contracting Party,
or where a mark has been registered in the register of the Office of a Contracting Party, the person in whose
name that application (hereinafter referred to as “the basic application”) or that registration (hereinafter
referred to as “the basic registration”) stands may, subject to the provisions of this Protocol, secure
protection for his mark in the territory of the Contracting Parties, by obtaining the registration of that mark
in the register of the International Bureau of the World Intellectual Property Organization (hereinafter
referred to as “the international registration,” “the International Register,” “the International Bureau” and
“the Organization,” respectively), provided that,

        (i) where the basic application has been filed with the Office of a Contracting State or where the basic
        registration has been made by such an Office, the person in whose name that application or
        registration stands is a national of that Contracting State, or is domiciled, or has a real and effective
        industrial or commercial establishment, in the said Contracting State,
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       (ii) where the basic application has been filed with the Office of a Contracting Organization or where
       the basic registration has been made by such an Office, the person in whose name that application or
       registration stands is a national of a State member of that Contracting Organization, or is domiciled,
       or has a real and effective industrial or commercial establishment, in the territory of the said
       Contracting Organization.

(2) The application for international registration (hereinafter referred to as “the international application”)
shall be filed with the International Bureau through the intermediary of the Office with which the basic
application was filed or by which the basic registration was made (hereinafter referred to as “the Office of
origin”), as the case may be.

 (3) Any reference in this Protocol to an “Office” or an “Office of a Contracting Party” shall be construed as a
reference to the office that is in charge, on behalf of a Contracting Party, of the registration of marks, and any
reference in this Protocol to “marks” shall be construed as a reference to trademarks and service marks.

 (4) For the purposes of this Protocol, “territory of a Contracting Party” means, where the Contracting Party
is a State, the territory of that State and, where the Contracting Party is an intergovernmental organization,
the territory in which the constituting treaty of that intergovernmental organization applies.




                                                 Article 3
                                         International Application

(1) Every international application under this Protocol shall be presented on the form prescribed by the
Regulations. The Office of origin shall certify that the particulars appearing in the international application
correspond to the particulars appearing, at the time of the certification, in the basic application or basic
registration, as the case may be. Furthermore, the said Office shall indicate,

       (i) in the case of a basic application, the date and number of that application,

       (ii) in the case of a basic registration, the date and number of that registration as well as the date and
       number of the application from which the basic registration resulted.

The Office of origin shall also indicate the date of the international application.

(2) The applicant must indicate the goods and services in respect of which protection of the mark is claimed
and also, if possible, the corresponding class or classes according to the classification established by the Nice
Agreement Concerning the International Classification of Goods and Services for the Purposes of the
Registration of Marks. If the applicant does not give such indication, the International Bureau shall classify
the goods and services in the appropriate classes of the said classification. The indication of classes given by
the applicant shall be subject to control by the International Bureau, which shall exercise the said control in
association with the Office of origin. In the event of disagreement between the said Office and the
International Bureau, the opinion of the latter shall prevail.

(3) If the applicant claims color as a distinctive feature of his mark, he shall be required
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       (i) to state the fact, and to file with his international application a notice specifying the color or the
       combination of colors claimed;

       (ii) to append to his international application copies in color of the said mark, which shall be
       attached to the notifications given by the International Bureau; the number of such copies shall be
       fixed by the Regulations.

(4) The International Bureau shall register immediately the marks filed in accordance with Article 2. The
international registration shall bear the date on which the international application was received in the
Office of origin, provided that the international application has been received by the International Bureau
within a period of two months from that date. If the international application has not been received within
that period, the international registration shall bear the date on which the said international application
was received by the International Bureau. The International Bureau shall notify the international
registration without delay to the Offices concerned. Marks registered in the International Register shall be
published in a periodical gazette issued by the International Bureau, on the basis of the particulars
contained in the international application.

(5) With a view to the publicity to be given to marks registered in the International Register, each Office shall
receive from the International Bureau a number of copies of the said gazette free of charge and a number of
copies at a reduced price, under the conditions fixed by the Assembly referred to in Article 10(hereinafter
referred to as “the Assembly”). Such publicity shall be deemed to be sufficient for the purposes of all the
Contracting Parties, and no other publicity may be required of the holder of the international registration.




                                                Article 3bis
                                              Territorial Effect

The protection resulting from the international registration shall extend to any Contracting Party only at the
request of the person who files the international application or who is the holder of the international
registration. However, no such request can be made with respect to the Contracting Party whose Office is the
Office of origin.




                                               Article 3ter
                                   Request for “Territorial Extension”

(1) Any request for extension of the protection resulting from the international registration to any
Contracting Party shall be specially mentioned in the international application.

(2) A request for territorial extension may also be made subsequently to the international registration. Any
such request shall be presented on the form prescribed by the Regulations. It shall be immediately recorded
by the International Bureau, which shall notify such recordal without delay to the Office or Offices
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concerned. Such recordal shall be published in the periodical gazette of the International Bureau. Such
territorial extension shall be effective from the date on which it has been recorded in the International
Register; it shall cease to be valid on the expiry of the international registration to which it relates.




                                                   Article 4
                                    Effects of International Registration

(1)

      (a) From the date of the registration or recordal effected in accordance with the provisions of Articles 3
      and 3ter, the protection of the mark in each of the Contracting Parties concerned shall be the same as if
      the mark had been deposited direct with the Office of that Contracting Party. If no refusal has been
      notified to the International Bureau in accordance with Article 5(1) and (2) or if a refusal notified in
      accordance with the said Article has been withdrawn subsequently, the protection of the mark in the
      Contracting Party concerned shall, as from the said date, be the same as if the mark had been registered
      by the Office of that Contracting Party.

      (b) The indication of classes of goods and services provided for in Article 3 shall not bind the Contracting
      Parties with regard to the determination of the scope of the protection of the mark.

(2) Every international registration shall enjoy the right of priority provided for by
Article 4 of the Paris Convention for the Protection of Industrial Property, without it being necessary to
comply with the formalities prescribed in Section D of that Article.




                                          Article 4bis
       Replacement of a National or Regional Registration by an International Registration

(1) Where a mark that is the subject of a national or regional registration in the Office of a Contracting Party
is also the subject of an international registration and both registrations stand in the name of the same
person, the international registration is deemed to replace the national or regional registration, without
prejudice to any rights acquired by virtue of the latter, provided that

         (i) the protection resulting from the international registration extends to the said Contracting Party
         under Article 3ter(1) or (2),

         (ii) all the goods and services listed in the national or regional registration are also listed in the
         international registration in respect of the said Contracting Party,

         (iii) such extension takes effect after the date of the national or regional registration.

(2) The Office referred to in paragraph (1) shall, upon request, be required to take note in its register of the
international registration.
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                                               Article 5
       Refusal and Invalidation of Effects of International Registration in Respect of Certain
                                        Contracting Parties

(1) Where the applicable legislation so authorizes, any Office of a Contracting Party which has been notified
by the International Bureau of an extension to that Contracting Party, under Article 3ter(1) or (2), of the
protection resulting from the international registration shall have the right to declare in a notification of
refusal that protection cannot be granted in the said Contracting Party to the mark which is the subject of
such extension. Any such refusal can be based only on the grounds which would apply, under the Paris
Convention for the Protection of Industrial Property, in the case of a mark deposited direct with the Office
which notifies the refusal. However, protection may not be refused, even partially, by reason only that the
applicable legislation would permit registration only in a limited number of classes or for a limited number
of goods or services.

(2)

      (a) Any Office wishing to exercise such right shall notify its refusal to the International Bureau, together
      with a statement of all grounds, within the period prescribed by the law applicable to that Office and at
      the latest, subject to subparagraphs (b) and (c), before the expiry of one year from the date on which the
      notification of the extension referred to in paragraph (1) has been sent to that Office by the International
      Bureau.

      (b) Notwithstanding subparagraph (a), any Contracting Party may declare that, for international
      registrations made under this Protocol, the time limit of one year referred to in subparagraph (a) is
      replaced by 18 months.

      (c) Such declaration may also specify that, when a refusal of protection may result from an opposition to
      the granting of protection, such refusal may be notified by the Office of the said Contracting Party to the
      International Bureau after the expiry of the 18­month time limit. Such an Office may, with respect to any
      given international registration, notify a refusal of protection after the expiry of the 18­month time limit,
      but only if

         (i) it has, before the expiry of the 18­month time limit, informed the International Bureau of the
         possibility that oppositions may be filed after the expiry of the 18­month time limit, and

         (ii) the notification of the refusal based on an opposition is made within a time limit of one month
         from the expiry of the opposition period and, in any case, not later than seven months from the date
         on which the opposition period begins.

      (d) Any declaration under subparagraphs (b) or (c) may be made in the instruments referred to in
      Article 14(2), and the effective date of the declaration shall be the same as the date of entry into force of
      this Protocol with respect to the State or intergovernmental organization having made the declaration.
      Any such declaration may also be made later, in which case the declaration shall have effect three
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   months after its receipt by the Director General of the Organization (hereinafter referred to as “the
   Director General”), or at any later date indicated in the declaration, in respect of any international
   registration whose date is the same as or is later than the effective date of the declaration.

   (e) Upon the expiry of a period of ten years from the entry into force of this Protocol, the Assembly shall
   examine the operation of the system established by subparagraphs (a) to (d). Thereafter, the provisions
   of the said subparagraphs may be modified by a unanimous decision of the Assembly*.

(3) The International Bureau shall, without delay, transmit one of the copies of the notification of refusal to
the holder of the international registration. The said holder shall have the same remedies as if the mark had
been deposited by him direct with the Office which has notified its refusal. Where the International Bureau
has received information under paragraph (2)(c)(i), it shall, without delay, transmit the said information to
the holder of the international registration.

(4) The grounds for refusing a mark shall be communicated by the International Bureau to any interested
party who may so request.

(5) Any Office which has not notified, with respect to a given international registration, any provisional or
final refusal to the International Bureau in accordance with paragraphs (1) and (2) shall, with respect to
that international registration, lose the benefit of the right provided for in paragraph (1).

(6) Invalidation, by the competent authorities of a Contracting Party, of the effects, in the territory of that
Contracting Party, of an international registration may not be pronounced without the holder of such
international registration having, in good time, been afforded the opportunity of defending his rights.
Invalidation shall be notified to the International Bureau.




                                        Article 5bis
          Documentary Evidence of Legitimacy of Use of Certain Elements of the Mark

Documentary evidence of the legitimacy of the use of certain elements incorporated in a mark, such as
armorial bearings, escutcheons, portraits, honorary distinctions, titles, trade names, names of persons other
than the name of the applicant, or other like inscriptions, which might be required by the Offices of the
Contracting Parties shall be exempt from any legalization as well as from any certification other than that of
the Office of origin.




                                          Article 5ter
     Copies of Entries in International Register; Searches for Anticipations; Extracts from
                                     International Register

(1) The International Bureau shall issue to any person applying therefor, upon the payment of a fee fixed by
the Regulations, a copy of the entries in the International Register concerning a specific mark.
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(2) The International Bureau may also, upon payment, undertake searches for anticipations among marks
that are the subject of international registrations.

(3) Extracts from the International Register requested with a view to their production in one of the
Contracting Parties shall be exempt from any legalization.




                                             Article 6
       Period of Validity of International Registration; Dependence and Independence of
                                    International Registration

(1) Registration of a mark at the International Bureau is effected for ten years, with the possibility of renewal
under the conditions specified in Article 7.

(2) Upon expiry of a period of five years from the date of the international registration, such registration
shall become independent of the basic application or the registration resulting therefrom, or of the basic
registration, as the case may be, subject to the following provisions.

(3) The protection resulting from the international registration, whether or not it has been the subject of a
transfer, may no longer be invoked if, before the expiry of five years from the date of the international
registration, the basic application or the registration resulting therefrom, or the basic registration, as the
case may be, has been withdrawn, has lapsed, has been renounced or has been the subject of a final decision
of rejection, revocation, cancellation or invalidation, in respect of all or some of the goods and services listed
in the international registration. The same applies if

       (i) an appeal against a decision refusing the effects of the basic application,

       (ii) an action requesting the withdrawal of the basic application or the revocation, cancellation or
       invalidation of the registration resulting from the basic application or of the basic registration, or

       (iii) an opposition to the basic application

results, after the expiry of the five­year period, in a final decision of rejection, revocation, cancellation or
invalidation, or ordering the withdrawal, of the basic application, or the registration resulting therefrom, or
the basic registration, as the case may be, provided that such appeal, action or opposition had begun before
the expiry of the said period. The same also applies if the basic application is withdrawn, or the registration
resulting from the basic application or the basic registration is renounced, after the expiry of the five­year
period, provided that, at the time of the withdrawal or renunciation, the said application or registration was
the subject of a proceeding referred to in (i), (ii) or (iii) and that such proceeding had begun before the expiry
of the said period.

(4) The Office of origin shall, as prescribed in the Regulations, notify the International Bureau of the facts
and decisions relevant under paragraph (3), and the International Bureau shall, as prescribed in the
Regulations, notify the interested parties and effect any publication accordingly. The Office of origin shall,
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where applicable, request the International Bureau to cancel, to the extent applicable, the international
registration, and the International Bureau shall proceed accordingly.




                                               Article 7
                                 Renewal of International Registration

(1) Any international registration may be renewed for a period of ten years from the expiry of the preceding
period, by the mere payment of the basic fee and, subject to Article 8(7), of the supplementary and
complementary fees provided for in Article 8(2).

(2) Renewal may not bring about any change in the international registration in its latest form.

(3) Six months before the expiry of the term of protection, the International Bureau shall, by sending an
unofficial notice, remind the holder of the international registration and his representative, if any, of the
exact date of expiry.

(4) Subject to the payment of a surcharge fixed by the Regulations, a period of grace of six months shall be
allowed for renewal of the international registration.




                                               Article 8
                          Fees for International Application and Registration

(1) The Office of origin may fix, at its own discretion, and collect, for its own benefit, a fee which it may
require from the applicant for international registration or from the holder of the international registration
in connection with the filing of the international application or the renewal of the international registration.

(2) Registration of a mark at the International Bureau shall be subject to the advance payment of an
international fee which shall, subject to the provisions of paragraph (7)(a), include,

       (i) a basic fee;

       (ii) a supplementary fee for each class of the International Classification, beyond three, into which
       the goods or services to which the mark is applied will fall;

       (iii) a complementary fee for any request for extension of protection under Article 3ter.

(3) However, the supplementary fee specified in paragraph (2)(ii) may, without prejudice to the date of the
international registration, be paid within the period fixed by the Regulations if the number of classes of
goods or services has been fixed or disputed by the International Bureau. If, upon expiry of the said period,
the supplementary fee has not been paid or the list of goods or services has not been reduced to the required
extent by the applicant, the international application shall be deemed to have been abandoned.
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(4) The annual product of the various receipts from international registration, with the exception of the
receipts derived from the fees mentioned in paragraph (2)(ii) and (iii), shall be divided equally among the
Contracting Parties by the International Bureau, after deduction of the expenses and charges necessitated by
the implementation of this Protocol.

(5) The amounts derived from the supplementary fees provided for in paragraph (2)(ii) shall be divided, at
the expiry of each year, among the interested Contracting Parties in proportion to the number of marks for
which protection has been applied for in each of them during that year, this number being multiplied, in the
case of Contracting Parties which make an examination, by a coefficient which shall be determined by the
Regulations.

(6) The amounts derived from the complementary fees provided for in paragraph (2)(iii) shall be divided
according to the same rules as those provided for in paragraph (5).

(7)

      (a) Any Contracting Party may declare that, in connection with each international registration in which
      it is mentioned under Article 3ter, and in connection with the renewal of any such international
      registration, it wants to receive, instead of a share in the revenue produced by the supplementary and
      complementary fees, a fee (hereinafter referred to as “the individual fee”) whose amount shall be
      indicated in the declaration, and can be changed in further declarations, but may not be higher than the
      equivalent of the amount which the said Contracting Party’s Office would be entitled to receive from an
      applicant for a ten­year registration, or from the holder of a registration for a ten­year renewal of that
      registration, of the mark in the register of the said Office, the said amount being diminished by the
      savings resulting from the international procedure. Where such an individual fee is payable,

         (i) no supplementary fees referred to in paragraph (2)(ii) shall be payable if only Contracting Parties
         which have made a declaration under this subparagraph are mentioned under Article 3ter, and

         (ii) no complementary fee referred to in paragraph (2)(iii) shall be payable in respect of any
         Contracting Party which has made a declaration under this subparagraph.

      (b) Any declaration under subparagraph (a) may be made in the instruments referred to in Article 14(2),
      and the effective date of the declaration shall be the same as the date of entry into force of this Protocol
      with respect to the State or intergovernmental organization having made the declaration. Any such
      declaration may also be made later, in which case the declaration shall have effect three months after its
      receipt by the Director General, or at any later date indicated in the declaration, in respect of any
      international registration whose date is the same as or is later than the effective date of the declaration.




                                             Article 9
                Recordal of Change in the Ownership of an International Registration
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At the request of the person in whose name the international registration stands, or at the request of an
interested Office made ex officio or at the request of an interested person, the International Bureau shall
record in the International Register any change in the ownership of that registration, in respect of all or some
of the Contracting Parties in whose territories the said registration has effect and in respect of all or some of
the goods and services listed in the registration, provided that the new holder is a person who, under
Article 2(1), is entitled to file international applications.




                                           Article 9bis
              Recordal of Certain Matters Concerning an International Registration

The International Bureau shall record in the International Register

       (i) any change in the name or address of the holder of the international registration,

       (ii) the appointment of a representative of the holder of the international registration and any other
       relevant fact concerning such representative,

       (iii) any limitation, in respect of all or some of the Contracting Parties, of the goods and services
       listed in the international registration,

       (iv) any renunciation, cancellation or invalidation of the international registration in respect of all or
       some of the Contracting Parties,

       (v) any other relevant fact, identified in the Regulations, concerning the rights in a mark that is the
       subject of an international registration.




                                                Article 9ter
                                        Fees for Certain Recordals

Any recordal under Article 9 or under Article 9bis may be subject to the payment of a fee.




                                         Article 9quater
                             Common Office of Several Contracting States

(1) If several Contracting States agree to effect the unification of their domestic legislation’s on marks, they
may notify the Director General

       (i) that a common Office shall be substituted for the national Office of each of them, and
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         (ii) that the whole of their respective territories shall be deemed to be a single State for the purposes
         of the application of all or part of the provisions preceding this Article as well as the provisions of
         Articles 9quinquies and 9sexies.

(2) Such notification shall not take effect until three months after the date of the communication thereof by
the Director General to the other Contracting Parties.




                                       Article 9quinquies
      Transformation of an International Registration into National or Regional Applications

Where, in the event that the international registration is cancelled at the request of the Office of origin under
Article 6(4), in respect of all or some of the goods and services listed in the said registration, the person who
was the holder of the international registration files an application for the registration of the same mark with
the Office of any of the Contracting Parties in the territory of which the international registration had effect,
that application shall be treated as if it had been filed on the date of the international registration according
to Article 3(4) or on the date of recordal of the territorial extension according to Article 3ter(2) and, if the
international registration enjoyed priority, shall enjoy the same priority, provided that

         (i) such application is filed within three months from the date on which the international
         registration was cancelled,

         (ii) the goods and services listed in the application are in fact covered by the list of goods and services
         contained in the international registration in respect of the Contracting Party concerned, and

         (iii) such application complies with all the requirements of the applicable law, including the
         requirements concerning fees.




                                      Article 9sexies
Relations Between States Party to both this Protocol and the Madrid (Stockholm) Agreement

(1)

      (a) This Protocol alone shall be applicable as regards the mutual relations of States party to both this
      Protocol and the Madrid (Stockholm) Agreement.

      (b) Notwithstanding subparagraph (a), a declaration made under Article 5(2)(b), Article 5(2)(c) or
      Article 8(7) of this Protocol, by a State party to both this Protocol and the Madrid (Stockholm)
      Agreement, shall have no effect in the relations with another State party to both this Protocol and the
      Madrid (Stockholm) Agreement.
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(2) The Assembly shall, after the expiry of a period of three years from September 1, 2008, review the
application of paragraph (1)(b) and may, at any time thereafter, either repeal it or restrict its scope, by a
three­fourths majority. In the vote of the Assembly, only those States which are party to both the Madrid
(Stockholm) Agreement and this Protocol shall have the right to participate.




                                                   Article 10
                                                   Assembly

(1)

      (a) The Contracting Parties shall be members of the same Assembly as the countries party to the Madrid
      (Stockholm) Agreement.

      (b) Each Contracting Party shall be represented in that Assembly by one delegate, who may be assisted
      by alternate delegates, advisors, and experts.

      (c) The expenses of each delegation shall be borne by the Contracting Party which has appointed it,
      except for the travel expenses and the subsistence allowance of one delegate for each Contracting Party,
      which shall be paid from the funds of the Union.

(2) The Assembly shall, in addition to the functions which it has under the Madrid (Stockholm) Agreement,
also

         (i) deal with all matters concerning the implementation of this Protocol;

         (ii) give directions to the International Bureau concerning the preparation for conferences of revision
         of this Protocol, due account being taken of any comments made by those countries of the Union
         which are not party to this Protocol;

         (iii) adopt and modify the provisions of the Regulations concerning the implementation of this
         Protocol;

         (iv) perform such other functions as are appropriate under this Protocol.

(3)

      (a) Each Contracting Party shall have one vote in the Assembly. On matters concerning only countries
      that are party to the Madrid (Stockholm) Agreement, Contracting Parties that are not party to the said
      Agreement shall not have the right to vote, whereas, on matters concerning only Contracting Parties,
      only the latter shall have the right to vote.

      (b) One­half of the members of the Assembly which have the right to vote on a given matter shall
      constitute the quorum for the purposes of the vote on that matter.
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      (c) Notwithstanding the provisions of subparagraph (b), if, in any session, the number of the members of
      the Assembly having the right to vote on a given matter which are represented is less than one­half but
      equal to or more than one­third of the members of the Assembly having the right to vote on that matter,
      the Assembly may make decisions but, with the exception of decisions concerning its own procedure, all
      such decisions shall take effect only if the conditions set forth hereinafter are fulfilled. The International
      Bureau shall communicate the said decisions to the members of the Assembly having the right to vote on
      the said matter which were not represented and shall invite them to express in writing their vote or
      abstention within a period of three months from the date of the communication. If, at the expiry of this
      period, the number of such members having thus expressed their vote or abstention attains the number
      of the members which was lacking for attaining the quorum in the session itself, such decisions shall
      take effect provided that at the same time the required majority still obtains.

      (d) Subject to the provisions of Articles 5(2)(e), 9sexies(2), 12 and 13(2), the decisions of the Assembly
      shall require two­thirds of the votes cast.

      (e) Abstentions shall not be considered as votes.

      (f) A delegate may represent, and vote in the name of, one member of the Assembly only.

(4) In addition to meeting in ordinary sessions and extraordinary sessions as provided for by the Madrid
(Stockholm) Agreement, the Assembly shall meet in extraordinary session upon convocation by the Director
General, at the request of one­fourth of the members of the Assembly having the right to vote on the matters
proposed to be included in the agenda of the session. The agenda of such an extraordinary session shall be
prepared by the Director General.




                                                    Article 11
                                              International Bureau

(1) International registration and related duties, as well as all other administrative tasks, under or
concerning this Protocol, shall be performed by the International Bureau.

(2)

      (a) The International Bureau shall, in accordance with the directions of the Assembly, make the
      preparations for the conferences of revision of this Protocol.

      (b) The International Bureau may consult with intergovernmental and international non­governmental
      organizations concerning preparations for such conferences of revision.

      (c) The Director General and persons designated by him shall take part, without the right to vote, in the
      discussions at such conferences of revision.

(3) The International Bureau shall carry out any other tasks assigned to it in relation to this Protocol.
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                                                   Article 12
                                                   Finances

As far as Contracting Parties are concerned, the finances of the Union shall be governed by the same
provisions as those contained in Article 12 of the Madrid (Stockholm) Agreement, provided that any
reference to Article 8 of the said Agreement shall be deemed to be a reference to Article 8 of this Protocol.
Furthermore, for the purposes of Article 12(6)(b) of the said Agreement, Contracting Organizations shall,
subject to a unanimous decision to the contrary by the Assembly, be considered to belong to contribution
class I (one) under the Paris Convention for the Protection of Industrial Property.




                                             Article 13
                              Amendment of Certain Articles of the Protocol

(1) Proposals for the amendment of Articles 10, 11, 12, and the present Article, may be initiated by any
Contracting Party, or by the Director General. Such proposals shall be communicated by the Director
General to the Contracting Parties at least six months in advance of their consideration by the Assembly.

(2) Amendments to the Articles referred to in paragraph (1) shall be adopted by the Assembly. Adoption
shall require three­fourths of the votes cast, provided that any amendment to Article 10, and to the present
paragraph, shall require four­fifths of the votes cast.

(3) Any amendment to the Articles referred to in paragraph (1) shall enter into force one month after written
notifications of acceptance, effected in accordance with their respective constitutional processes, have been
received by the Director General from three­fourths of those States and intergovernmental organizations
which, at the time the amendment was adopted, were members of the Assembly and had the right to vote on
the amendment. Any amendment to the said Articles thus accepted shall bind all the States and
intergovernmental organizations which are Contracting Parties at the time the amendment enters into force,
or which become Contracting Parties at a subsequent date.




                                                Article 14
                             Becoming Party to the Protocol; Entry into Force

(1)

      (a) Any State that is a party to the Paris Convention for the Protection of Industrial Property may
      become party to this Protocol.

      (b) Furthermore, any intergovernmental organization may also become party to this Protocol where the
      following conditions are fulfilled:
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         (i) at least one of the member States of that organization is a party to the Paris Convention for the
         Protection of Industrial Property;

         (ii) that organization has a regional Office for the purposes of registering marks with effect in the
         territory of the organization, provided that such Office is not the subject of a notification under
         Article 9quater.

(2) Any State or organization referred to in paragraph (1) may sign this Protocol. Any such State or
organization may, if it has signed this Protocol, deposit an instrument of ratification, acceptance or
approval of this Protocol or, if it has not signed this Protocol, deposit an instrument of accession to this
Protocol.

(3) The instruments referred to in paragraph (2) shall be deposited with the Director General.

(4)

      (a) This Protocol shall enter into force three months after four instruments of ratification, acceptance,
      approval or accession have been deposited, provided that at least one of those instruments has been
      deposited by a country party to the Madrid (Stockholm) Agreement and at least one other of those
      instruments has been deposited by a State not party to the Madrid (Stockholm) Agreement or by any of
      the organizations referred to in paragraph (1)(b).

      (b) With respect to any other State or organization referred to in paragraph (1), this Protocol shall enter
      into force three months after the date on which its ratification, acceptance, approval or accession has
      been notified by the Director General.

(5) Any State or organization referred to in paragraph (1) may, when depositing its instrument of
ratification, acceptance or approval of, or accession to, this Protocol, declare that the protection resulting
from any international registration effected under this Protocol before the date of entry into force of this
Protocol with respect to it cannot be extended to it.




                                                   Article 15
                                                  Denunciation

(1) This Protocol shall remain in force without limitation as to time.

(2) Any Contracting Party may denounce this Protocol by notification addressed to the Director General.

(3) Denunciation shall take effect one year after the day on which the Director General has received the
notification.

(4) The right of denunciation provided for by this Article shall not be exercised by any Contracting Party
before the expiry of five years from the date upon which this Protocol entered into force with respect to that
Contracting Party.
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(5)

      (a) Where a mark is the subject of an international registration having effect in the denouncing State or
      intergovernmental organization at the date on which the denunciation becomes effective, the holder of
      such registration may file an application for the registration of the same mark with the Office of the
      denouncing State or intergovernmental organization, which shall be treated as if it had been filed on the
      date of the international registration according to Article 3(4) or on the date of recordal of the territorial
      extension according to Article 3ter(2) and, if the international registration enjoyed priority, enjoy the
      same priority, provided that

         (i) such application is filed within two years from the date on which the denunciation became
         effective,

         (ii) the goods and services listed in the application are in fact covered by the list of goods and services
         contained in the international registration in respect of the denouncing State or intergovernmental
         organization, and

         (iii) such application complies with all the requirements of the applicable law, including the
         requirements concerning fees.

      (b) The provisions of subparagraph (a) shall also apply in respect of any mark that is the subject of an
      international registration having effect in Contracting Parties other than the denouncing State or
      intergovernmental organization at the date on which denunciation becomes effective and whose holder,
      because of the denunciation, is no longer entitled to file international applications under Article 2(1).




                                                Article 16
                                Signature; Languages; Depository Functions

(1)

      (a) This Protocol shall be signed in a single copy in the English, French and Spanish languages, and
      shall be deposited with the Director General when it ceases to be open for signature at Madrid. The texts
      in the three languages shall be equally authentic.

      (b) Official texts of this Protocol shall be established by the Director General, after consultation with the
      interested governments and organizations, in the Arabic, Chinese, German, Italian, Japanese,
      Portuguese and Russian languages, and in such other languages as the Assembly may designate.

(2) This Protocol shall remain open for signature at Madrid until December 31, 1989.

(3) The Director General shall transmit two copies, certified by the Government of Spain, of the signed texts
of this Protocol to all States and intergovernmental organizations that may become party to this Protocol.

(4) The Director General shall register this Protocol with the Secretariat of the United Nations.
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(5) The Director General shall notify all States and international organizations that may become or are party
to this Protocol of signatures, deposits of instruments of ratification, acceptance, approval or accession, the
entry into force of this Protocol and any amendment thereto, any notification of denunciation and any
declaration provided for in this Protocol.



* Interpretative statement adopted by the Assembly of the Madrid Union:

   "Article 5(2)(e) of the Protocol is understood as allowing the Assembly to keep under review the
   operation of the system established by subparagraphs (a) to (d), it being also understood that any
   modification of those provisions shall require a unanimous decision of the Assembly."
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